


  PER CURIAM.
 

  Upon review of Appellant’s response to this court’s order to show cause, entered February 27, 2009, the appeal is hereby DISMISSED for lack of jurisdiction.
  
   See Troche v. BJ’s Wholesale Club, Inc.,
  
  954 So.2d 685, 686 (Fla. 1st DCA 2007) (noting if notice of appeal is not timely filed, the appellate court lacks jurisdiction and must dismiss the appeal);
  
   see also Caldwell v. Wal-Mart Stores, Inc.,
  
  980 So.2d 1226, 1228 (Fla. 1st DCA 2008) (noting a motion for rehearing in a workers’ compensation case does not toll the time for filing an appeal); Fla. Admin. Code R. 60Q-6.122(3) (providing “a motion for re-hearing does not toll the time within which an order becomes final or an appeal may be filed”).
 

  WOLF, KAHN, and BENTON, JJ., concur.
 
